Filed 10/21/19                                                               Case 19-14428                                                                        Doc 1
   6~
                                                                                                                                         FILED
  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA
                                                                                                                                       OCT 212019
  Case number    (if known)          1_'1                                         Chapter you are filing under:

                                                                                  • Chapter 7                                                5QQ
                                                                                  o Chapter 11
                                                                                  o Chapter 12
                                                                                  o Chapter 13                                     o    Check if this is an
                                                                                                                                        amended filing




 Official Form 101
 VoluntaryPetitionforIndividualsFilingforBankruptcy                                                                                                            12/17
 The bankruptcy forms use you and Debtor Ito refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car," the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor I and Debtor 2 to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor I and the other as Debtor 2. The same person must be Debtor I in
 all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.



 I17        Identify Yourself


                                       About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

       Your full name

       Write the name that is on       ELSA
       your government-issued          First name                                                       First name
       picture identification (for
       example, your driver's          M
       license or passport).
                                       Middle name                                                      Middle name
       Bring your picture
                                       COTA
       identification to your
       meeting with the trustee.       Last name and Suffix (Sr., Jr., II, Ill)                         Last name and Suffix (Sr., Jr., II, Ill)




       All other names you have
       used in the last 8 years        ELSA MARIE HERNANDEZ
       Include your married or
       maiden names.



       Only the last 4 digits of
       your Social Security
       number or federal               xxx-xx-4844
       Individual Taxpayer
       Identification number
       (ITIN)




 Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 1
Filed 10/21/19                                                        Case 19-14428                                                                            Doc 1
  Debtor 1   ELSA M COTA                                                                               Case number   (if known)




                                  About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):


  4. Any business names and
      Employer Identification
      Numbers (EIN) you have          I have not used any business name or EINs.                0   I have not used any business name or EINs.
      used in the last 8 years

       Include trade names and    Business name(s)                                              Business name(s)
       doing business as names

                                  EINs                                                          EINs




  5. Where you live                                                                             If Debtor 2 lives at a different address:

                                  2105 BRITE ST
                                  Bakersfield, CA 93304
                                  Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                  Kern
                                  County                                                        County

                                  If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                  above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                  notices to you at this mailing address.                       mailing address.



                                  Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




  6. Why you are choosing         Check one:                                                    Check one:
      this district to file for
      bankruptcy                         Over the last 180 days before filing this petition,    o      Over the last 180 days before filing this petition, I
                                         I have lived in this district longer than in any              have lived in this district longer than in any other
                                         other district.                                               district.

                                  o      I have another reason.                                 o       I have another reason.
                                         Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




  Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
Filed 10/21/19                                                           Case 19-14428                                                                            Doc 1
  Debtor 1    Fl SA M (flTA                                                                                  Case number    (if known)




 ITP.        Tell the Court About Your Bankruptcy Case

  7. The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
      Bankruptcy Code you are     (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      choosing to file under
                                  U   Chapter 7

                                  o   Chapter 11

                                  o   Chapter 12

                                  o   Chapter 13



       How you will pay the fee   •         I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                            about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                            order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                            a pre-printed address.
                                  o         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                            The Filing Fee in Installments (Official Form 1 03A).
                                  o        I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                           but is not required to, waive your fee, and may do   soonly if your income is less than 150% of the official poverty line that
                                           applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                           the Application to Have the Chapter 7 Filing Fee Waived (Official Form 1 03B) and file it with your petition.



      Have you filed for              No
      bankruptcy within the
      last 8 years?               0   Yes.
                                                 District                                  When                            Case number
                                                 District                                  When                            Case number
                                                 District                                  When                            Case number



      Are any bankruptcy              No
      cases pending or being
      filed by a spouse who is    0   Yes.
      not filing this case with
      you, or by a business
      partner, or by an
      affiliate?
                                                 Debtor                                                                   Relationship to you
                                                 District                                 When                            Case number, if known
                                                 Debtor                                                                   Relationship to you
                                                 District                                 When                            Case number, if known



      Do you rent your            0   No.         Go to line 12.
      residence?
                                      Yes.        Has your landlord obtained an eviction judgment against you?

                                                  U         No.Gotolinel2.

                                                  o         Yes. Fill out Initial Statement About an Eviction JudgmentAgainst You (Form 101A) and file it with this
                                                            bankruptcy petition.




  Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 3
Filed 10/21/19                                                           Case 19-14428                                                                        Doc 1
  Debtor 1    ELSA M COTA                                                                                          Case number (if krown)



 IflI        Report About Any Businesses You Own as a Sole Proprietor

  12. Are you a sole proprietor
       of any full- or part-time         No.      Go to Part 4.
       business?

                                     0   Yes.     Name and location of-business

       A sole proprietorship is a
       business you operate as                    Name of business, if any
       an individual, and is nota
       separate legal entity such
       as a corporation,
       partnership, or LLC.
       If you have more than one
                                                  Number, Street, City, State    & ZIP Code
       sole proprietorship, use a
       separate sheet and attach
       it to this petition.                       Check the appropriate box to describe your business:
                                                  O       Health Care Business (as defined in 11 U.S.C.          § 101 (27A))
                                                  O       Single Asset Real Estate (as defined in 11 U.S.C.          § 101(51B))
                                                  O       Stockbroker (as defined in 11 U.S.C.      §   101 (53A))

                                                  O       Commodity Broker (as defined in 11 U.S.C.           § 101(6))
                                                  O       None of the above

       Are you filing under          If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
       Chapter 11 of the             deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
       Bankruptcy Code and are       operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
       youasmall business            in 11 U.S.C. 1116(1)(B).
       debtor?
                                         No       I am not filing under Chapter 11.
       For a definition of small
       business debtor, see 11
                                     0   No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
              §                                   Code.                                                                                      -

                                     o Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


 I1T         Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

       Do you own or have any        • No                                                                                                             -
       property that poses or is
       alleged to pose a threat      0   Yes.
       of imminent and                          What is the hazard?
       identifiable hazard to
       public health or safety?
       Or do you own any
       property that needs                      If immediate attention is
       immediate attention?                     needed, why is it needed?

       For example, do you own
       perishable goods, or
       livestock that must be fed,              Where is the property?
       or a building that needs
       urgent repairs?
                                                                                Number, Street, City, State   & Zip Code




  Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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  Debtor 1    ELSA M COTA                                                                               Case number (if known)

 ITil.       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                      About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
  15. Tell the court whether          You must check one:                                           You must check one:
       you have received a            U I received a briefing from an approved credit               o   I received a briefing from an approved credit
       briefing about credit              counseling agency within the 180 days before I                counseling agency within the 180 days before Ifiled
       counseling,                        filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                          certificate of completion.                                    completion.
      The law requires that you
      receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
      credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
      you file for bankruptcy.
      You must truthfully check       o   I received a briefing from an approved credit             o   I received a briefing from an approved credit
      one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before Ifiled
      choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
      so, you are not eligible to         a certificate of completion.                                  of completion.
      file.
                                          Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
      If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
      can dismiss your case, you          payment plan, if any.                                         any.
      will lose whatever filing fee
      you paid, and your              o   I certify that I asked for credit counseling              0   I certify that I asked for credit counseling services
      creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
      collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                          days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                          circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                          of the requirement.
                                                                                                        To ask for a 30-day temporary waiver of the requirement,
                                          To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                          requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                          what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                          you were unable to obtain it before you filed for             circumstances required you to file this case.
                                          bankruptcy, and what exigent circumstances
                                          required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                        with your reasons for not receiving a briefing before you
                                          Your case may be dismissed if the court is                    filed for bankruptcy.
                                          dissatisfied with your reasons for not receiving a
                                          briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                          If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                          still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                          You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                          agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                          developed, if any. If you do not do so, your case
                                          may be dismissed.                                             Any extension of the 30-day deadline is granted only for
                                                                                                        cause and is limited to a maximum of 15 days.
                                          Any extension of the 30-day deadline is granted
                                          only for cause and is limited to a maximum of 15
                                          days.
                                      o   I am not required to receive a briefing about             o   I am not required to receive a briefing about credit
                                          credit counseling because of:                                 counseling because of:

                                          o     Incapacity.                                             o    Incapacity.
                                                I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                                making rational decisions about finances.                    decisions about finances.

                                          o     Disability.                                             o    Disability.
                                                My physical disability causes me to be                       My physical disability causes me to be unable to
                                                unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                                by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                                reasonably tried to do so.                                   do so.

                                          o     Active duty.                                            o    Active duty.
                                                I am currently on active military duty in a                  I am currently on active military duty in a military
                                                military combat zone.                                        combat zone.
                                          If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                          briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                          motion for waiver credit counseling with the court.           of credit counseling with the court.




  Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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  Debtor 1    ELSA M COTA                                                                                  Case number     (if known)


 UT&l        Answer These Questions for Reporting Purposes

      What kind of debts do       16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
      you have?                             individual primarily for a personal, family, or household purpose"
                                             o No. Go to line 1 6b.
                                             • Yes. Go to line 17.
                                            Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                             o No. Go to line 16c.
                                             o Yes. Go to line 17.
                                             State the type of debts you owe that are not consumer debts or business debts



      Are you filing under        0 No.      I am not filing under Chapter 7. Go to line 18.
      Chapter 7?

      Do you estimate that            Yes I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
      after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
      property is excluded and
      administrative expenses                •No
      are paid that funds will
      be available for                       o Yes
      distribution to unsecured
      creditors?

  18. How many Creditors do • 1-49                                                 o 1,000-5,000                                o 25,001-50,000
      you estimate that you
      owe?                        o
                               50-99                                               o 5001-10,000                                o 50,001-1 00,000
                                  o
                               100-1 99                                            o 10,001-25,000                              o More than100,000
                                  o
                               200-999

      Howmuchdoyou
                                  • $0 - $50,000                                   o $1,000,001 -$10 million                    o $500,000,001 - $1 billion
      estimate your assets to
      be worth?                   o  $50,001 -$100,000                             o $10,000,001 -$50 million                   o $1,000,000,001 - $10 billion
                                  o  $100,001 - $500,000                           o $50,000,001 -$100 million                  o $10,000,000,001 - $50 billion
                                  o  $500,001 - $1 million                         o $100,000,001 -$500 million                 o More than $50 billion
      How mucWdo you              o $0 - $50,000                                   o $1,000,001 -$10 million                    o $500,000,001 - $1 billion
      estimate your liabilities
      to be?                      • $50,001 -$100,000                              o $10,000,001 -$50 million                   o $1,000,000,001 -$10 billion
                                  o  $100,001 -$500,000                            o $50,000,001 -$100 million                  o $10,000,000,001 -$50 billion
                                  o  $500,001 - $1 million                         o $100,000,001 -$500 million                 o More than $50 billion
 I1          Sign Below

  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                  United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                  document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. § 152, 1341, 1519,
                                  and 397

                                  ELSA M COTA                                                       Signature of Debtor 2
                                  Signature of Debtor 1

                                  Executed on     October 16, 2019                                  Executed on
                                                  MM/DD/YYYY                                                         MM/DD/YYYY




  Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 6
Filed 10/21/19                                                             Case 19-14428                                                                        Doc 1
  Debtor 1   ELSA M COTA                                                                                     Case number   (if known)




  For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
  represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                  for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
  If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
  an attorney, you do not need    schedules filed with the petition is incorrect.
  to file this page.
                                                                                                      Date        October 16, 2019
                                  Signature of Attorney for Debtor                                                MM/DD/YYYY

                                  JESUS MURILLO
                                  Printed name

                                  PAS TAX TYPING SERVICE
                                  Firm name

                                  2315 EDISON HWY
                                  Bakersfield, CA 93307
                                  Number, Street, City, State & ZIP Code

                                  Contact phone     661-325-0892                                Email address       taxpreparation@bak.rr.com

                                  Bar number & State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
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                                                             Certificate Number: I 5557-CAE-CC-03356 1684

                                                            IIIII IIIIIIIF IH I I II I iiFiii1 II H IiIIII II IU
                                                                            I 5557-CAE-CC-03356I 684




                                  CERTIFICATE OF COUNSELING


             I CERTIFY that on October 16, 2019, at 10:27 o'clock AM PDT, Elsa Cota
             received from Urgent Credit Counseling, Inc., an agency approved pursuant to II
             U.S.C. 111 to provide credit counseling in the Eastern District of California, an
             individual [or group] briefing that complied with the provisions of 11 U.S.C.
             109(h) and 111.
             A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
             copy of the debt repayment plan is attached to this certificate.
             This counseling session was conducted by internet.




             Date: October 16, 2019                          By:     Is/Stephanie Brown


                                                             Name: Stephanie Brown


                                                             Title: Counselor




             * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
             Code are required to file with the United States Bankruptcy Court a completed certificate of
             counseling from the nonprofit budget and credit counseling agency that provided the individual
             the counseling services and a copy of the debt repayment plan, if any, developed through the
             credit counseling agency. See II U.S.C. 109(h) and 521(b).
Filed 10/21/19                                                                           Case 19-14428                                                                                                                    Doc 1


     Debtor I                   ELSA M COTA
                                First Name                           Middle Name

     Debtor 2
     (Spouse if, filing)        First Name                           Middle Name                               Last Name


     United States Bankruptcy Court for the:                  EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)
                                                                                                                                                                                        o    Check if this is an
                                                                                                                                                                                             amended filing



     Official Form 106Sum
     Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15
     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
     your original forms, you must fill out a new Summary and check the box at the top of this page.

                    Summarize Your Assets

                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Yavtun.
     1.     Schedule A/B: Property (Official Form 1 06A/B)
            la. Copy line 55, Total real estate, from Schedule NB                  ................................................................................................         $                       0.00

             lb . Copy line 62, Total personal property, from Schedule NB .....................................................................................                             $                  5,800.00
             i c. Copy line 63, Total of all property on Schedule NB               ...............................................................................................          $                  5,800.00
    III!            Summarize Your Liabilities

                                                                                                                                                                                                ur abilities
                                                                                                                                                                                        TArnoyntiyoil9we

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1 06D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                                           $                       0.00

     3.     Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 1 06E/F)
               Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule ELF                                           .................................       $                       0.00

                  Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule ElF                                          ............................       $               72,351.00


                                                                                                                                                     Your total liabilities $                            72,351.00

     ITh            Summarize Your Income and Expenses

     4.     Schedule!: Your Income (Official Form 1061)
            Copy your combined monthly income from line 12 of Schedule I                          ................................................................................          $                  2,614.00

     5.     Schedule J: Your Expenses (Official Form I 06J)
            Copy your monthly expenses from line 22c of Schedule .1                    .................. .......................... ..............................                         $                  2,580.00

    Ii              Answer These Questions for Administrative and Statistical Records

            Are you filing for bankruptcy under Chapters 7, 11, or 13?
            0       No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

            • Yes
            What kind of debt do you have?


            •       Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or
                    household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            o       Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                    the court with your other schedules.
     Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                            page 1 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - ew.bestcase.com                                                                                                                              Best Case Bankruptcy
Filed 10/21/19                                                              Case 19-14428                                                                  Doc 1
      Debtor 1      ELSA M COTA                                                                  Case number (if known)

            From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
            122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                            $       3,000.00



            Copy the following special categories of claims from Part 4, line 6 of Schedule ElF:



           FF
                 Domestic support obligations (Copy line 6a.)                                                  $                0.00

                 Taxes and certain other debts you owe the government. (Copy line 6b.)                         $                0.00

                 Claims for death or personal injury while you were intoxicated. (Copy line 6c.)               $                0.00

                 Student loans. (Copy line 6f.)                                                                $                0.00

                 Obligations arising out of a separation agreement or divorce that you did not report as
                 priority claims. (Copy line 6g.)                                                              $                0.00

                 Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                             0.00


                 Total. Add lines 9a through 9f.                                                           $                  0.00




     Official Form 1 O6Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
     Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
Filed 10/21/19                                                                        Case 19-14428                                                                                   Doc 1


     Debtor . 1                ELSA M COTA
                               First Name                        Middle Name

     Debtor 2
     (Spouse, if filing)       First Name                        Middle Name


     United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                                                                            o     Check if this is an
                                                                                                                                                                  amended filing



     Official Form 106A/B
     Schedule NB: ProDertv                                                                                                                                       12/15
     In each category, separately list and describe items. List an asset only once. If an asset fits In more than one category, list the asset in the category where you
     think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
     Answer every question.

     UTh          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

     1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        • No. Go to Part 2.
        o Yes. Where is the property?

      •.          Describe Your Vehicles


     Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
     someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

     3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        DNo

        • Yes


       3.1 Make:           CHEV                                     Who has an interest in the property? check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                                    the amount of any secured claims on Schedule 0:
               Model:      UT                                        • Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
               Year:       2004                                     o Debtor 2 only                                                 Current value of the      Current value of the
               Approximate mileage:                180000           o Debtor 1 and Debtor 2 only                                    entire property?          portion you Own?
               Other information:                                   o At least one of the debtors and another
                                                                     o Check if this is community property                                     $2,000.00                 $2,000.00
                                                                          (see instructions)




     4. Watercraft, aircraft, motor homes, ATV5 and other recreatioial vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        UNo

        o Yes

     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
        pages you have attached for Part 2. Write that number here .............................................................................   ... $2,000.00

     ITi          Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                                     Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.



     Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 1
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      Debtor 1        ELSA M COTA                                                                                                           Case number (if known)

         Household goods and furnishings
         Examples: Major appliances, furniture, linens, china, kitchenware
         DNo
           • Yes. Describe     .....




                                           I SET OF SOFAS I TELEVISION I DINIG SET I LIVING ROOM AND
                                           SMALL APPLIANCES                                                                                                                               $3,500.00


         Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                     including cell phones, cameras, media players, games
           •No
           0   Yes. Describe

         Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                     other collections, memorabilia, collectibles
           • No
         o Yes. Describe
         Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                   musical instruments
               No
         0     Yes. Describe

           Firearms
            Examples: Pistols, rifles, shotguns, ammunition, and related equipment
         UNo
         o Yes. Describe       .....




           Clothes
            Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
         DNo
         • Yes. Describe       .....




                                           CLOTHING                                                                                                                                         $300.00


           Jewelry
            Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
         •No
         o Yes. Describe       .....




           Non-farm animals
           Examples: Dogs, cats, birds, horses
               No
         o Yes. Describe       .....




           Any other personal and household items you did not already list, including any health aids you did not list
         •No
         o Yes. Give specific information

               Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
               for Part 3. Write that number here        ..... . ........................................................................                            .
                                                                                                                                                                         ,            $3,800.00


     IFT         Describe Your Financial Assets
      Do you own or have any legal or equitable interest in any of the                                                                                                       Current value of the
                                                                                                                                                                             portion you own?
                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                             claims or exemptions.


     Official Form 106NB               '                                              Schedule A/B: Property                                                                                    page 2
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      Debtor 1         ELSA M COTA                                                                                                         Case number (if known)

          Cash
           Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
             No
         o Yes    ................................................................................................................




          Deposits of money
          Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                     institutions. If you have multiple accounts with the same institution, list each.
         •No
         o Yes                                                                                            Institution name:

          Bonds, mutual funds, or publicly traded stocks
          Examples: Bond funds, investment accounts with brokerage firms, money market accounts
         •No
         o Yes                                                Institution or issuer name:

          Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
          joint venture
         • No
         o Yes. Give specific information about them                            ...................


                                                        Name of entity:                                                                     % of ownership:

          Government and corporate bonds and other negotiable and non-negotiable instruments
          Negotiable instruments include personal checks, cashiers checks, promissory notes, and money orders.
          Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
         •No
         o Yes. Give specific information about them
                                                        Issuer name:

          Retirement or pension accounts
          Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
         UNo
         o Yes. List each account separately.
                                                   Type of account:                                      Institution name:

          Security deposits and prepayments
          Your share of all unused deposits you have made so that you may continue service or use from a company
          Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
             No
         o Yes                                                                                           Institution name or individual:

          Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
         •No
         o Yes                             Issuer name and description.

         Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
         26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
             No
         o Yes    .............
                                           Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

          Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
             No
         o Yes. Give specific information about them...
          Patents, copyrights, trademarks, trade secrets, and other intellectual property
          Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
         UNo
         o Yes. Give specific information about them...
          Licenses, franchises, and other general intangibles
          Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
             No
         o Yes. Give specific information about them...
      Money or property owed to you?                                                                                                                                Current value of the
     Official Form 106A/B                                                                         Schedule A/B: Property                                                              page 3
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      Debtor 1           ELSA M COTA                                                                                                                       Case number (if known) -

                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

            Tax refunds owed to you
              No
           • Yes. Give specific information about them, including whether you already filed the returns and the tax years



                                                                                                                                                                    FED REFUND AND
                                                                         2019 INCOME TAX REFUND                                                                        CA REFUND                          Unknown


            Family support
             Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
              No
           o Yes. Give specific information             ......




            Other amounts someone owes you
            Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
                      benefits; unpaid loans you made to someone else
           UNo
           o Yes. Give specific information..
            Interests in insurance policies
             Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renters insurance
           •No
           o Yes. Name the insurance company of each policy and list its value.
                     -                              Company name:                                                                            Beneficiary:                                     Surrender or refund
                                                                                                                                                                                              value:

           Any interest in property that is due you from someone who has died
           If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
           someone has died.
              No
           o Yes. Give specific information..
           Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
           Examples: Accidents, employment disputes, insurance claims, or rights to sue
           •No
           o Yes. Describe each claim             .........




           Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
           UNo
           o Yes. Describe each claim
           Any financial assets you did not already list
              No
           o Yes. Give specific information..
             Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
             for Part 4. Write that number here                  .....................................................................................................................   .
                                                                                                                                                                                                           $0 . 00


      -.        Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

           Do you own or have any legal or equitable interest in any business-related property?
        • No. Go to Part 6.
        0 Yes. Go to line 38.




     Official Form 106A/B                                                                     Schedule NB: Property                                                                                             page 4
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      Debtor 1       ELSA M COTA                                                                                                                    Case number (if known)

     IThl      Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

     46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           • No. Go to Part 7.
           0 Yes. Go to line 47.

     UTI             Describe All Property You Own or Have an Interest in That You Did Not List Above

           Do you have other property of any kind you did not already list?
           Examples: Season tickets, country club membership
         •No
         o Yes. Give specific information .........
            Add the dollar value of all of your entries from Part 7. Write that number here                                                                                            $0.00


     Ifll           List the Totals of Each Part of this Form

            Partl:Totalrealestate,line2              ......................................................................................................................                $0.00
            Part 2: Total vehicles, line 5                                                                              $2,000.00
            Part 3: Total personal and household items, line 15                                                         $3,800.00
            Part 4: Total financial assets, line 36                                                                              $0.00
            Part 5: Total business-related property, line 45                                                                     $0.00
            Part 6: Total farm- and fishing-related property, line 52                                                            $0.00
            Part 7: Total other property not listed, line 54                                            +                        $0.00

            Total personal property. Add lines 56 through 61...                                                         $5,800.00                 Copy personal property total        $5,800.00

            Total of all property on Schedule NB. Add line 55 + line 62                                                                                                          $5,800.00




     Official Form 106A/13                                                             Schedule NB: Property                                                                                page 5
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      Debtor 1                    ELSA M COTA
                                  First Name                   Middle Name

      Debtor 2
      (Spouse it, filing)         First Name                   Middle Name                   Last Name


      United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

      Case number
      (if known)
                                                                                                                                           O Check if this is an
                                                                                                                                              amended filing


     Official Form 1 06C
     Schedule C: The Property You Claim as Exempt                                                                                                                  4/19

     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
     the property you listed on Schedule A/B: Property (Official Form 1 O6AIB) as your source, list the property that you claim as exempt. If more space is
     needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
     case number (if known).

     For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
     specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
     any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
     funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
     exemption to a particular dollar amount and the value of the property is determined to exceed that amount; your exemption would be limited
     to the applicable statutory amount.

     I1Th             Identify the Prooertv You Claim as Exemot

           Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you

            • You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           o You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
           For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
           briet aescription or tne property ana line on          current value of the   Amount of the exemption you claim        Specific laws that allow exemption
           Schedule A/B that lists this property                  portion you own
                                                                  Copy the value from    Check only one box for each exemption.
                                                                  Schedule A/B

           2004 CHEV UT 180000 miles
           Line from Schedule NB: 3.1
                                                                          $2,000.00      •                          $2,000.00     C.C.P.   § 703.140(b)(2)
                                                                                         o     100% of fair market value, up to
                                                                                               any applicable statutory limit

           1SET OF SOFAS I TELEVISION I
           DINIG SET I LIVING ROOM AND
                                                                          $3,500.00      U                          $3,500.00     C.C.P.   § 703.140(b)(5)
           SMALL APPLIANCES                                                              0     100% of fair market value, up to
           Line from Schedule A/B: 6.1                                                         any applicable statutory limit


           CLOTHING
           Line from Schedule A/B: 11.1
                                                                             $300.00     •                            $300.00     C.C.P.   § 703.140(b)(3)
                                                                                         o     100% of fair market value, upto
                                                                                               any applicable statutory limit

           FED REFUND AND CA REFUND:
           2019 INCOME TAX REFUND
                                                                         Unknown         •                               $0 00    C.C.P.   § 703.140(b)(5)
           Line from Schedule A/B: 28.1                                                  0     100% of fair market value, upto                          -
                                                                                               any applicable statutory limit


           Are you claiming a homestead exemption of more than $170,3507
           (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           •No

           o       Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   o        No
                   o        Yes
     Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
     Software copight (c) 1996-2019 Best case. LLC -www.bestcase.com                                                                                   Best case Bankruptcy
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      Debtor 1     ELSA M COTA                                                                           Case number (if known)




     Official Form 106C                                          Schedule C: The Property You Claim as Exempt                           page 2 of 2
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      Debtor 1                 ELSA M COTA
                               First Name                        Middle Name            Last Name

      Debtor 2
      (Spouse if, filing)      First Name                        Middle Name            Last Name


      United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA


      Case number
      (if known)
                                                                                                                                         O   Check if this is an
                                                                                                                                             amended filing


     Official Form 106D
     Schedule D: Creditors Who Have Claims Secured by Property                                                                                                 12/15
     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
     is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
     number (if known).
     1. Do any creditors have claims secured by your property?

            • No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            o Yes. Fill in all of the information below.




     Official Form 106D                               Schedule 0: Creditors Who Have Claims Secured by Property                                               page 1 of 1
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Filed 10/21/19                                                                     Case 19-14428                                                                                            Doc 1


      Debtor 1                    ELSA M COTA
                                  First Name                     Middle Name                          Last Name

      Debtor 2
      (Spouse if, filing)         First Name                     Middle Name                          Last Name


      United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA


      Case number
      (if known)
                                                                                                                                                           O    Check if this is an
                                                                                                                                                                amended filing


     Official Form 106EIF
     Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                                      12/15
     Be as Complete and accurate as possible. Use Part I for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
     any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form I06AIB) and on
     Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
     Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
     left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
     name and case number (if known).

     ITh                List All of Your PRIORITY Unsecured Claims
      I. Do any creditors have priority unsecured claims against you?

            • No. Go to Part 2.

            o Yes.
     IIW                List All of Your NONPRIORITY Unsecured Claims

           Do any creditors have nonpriority unsecured claims against you?

            o No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            • Yes.

           List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of
           Part 2.
                                                                                                                                                                   Total claim

                   ACCELERATED URGENT CARE                                Last 4 digits of account number          3003                                                           $465.00
                   Nonpriority Creditor's Name
                   P0 BOX 57830                                           When was the debt incurred?              07/2019
                   MURAY, UT 841 57-0830
                   Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
                   Who incurred the debt? Check one.

                   IN   Debtor 1 only                                     o Contingent
                   o Debtor 2 only                                        • Unliquidated
                   o Debtor 1 and Debtor 2 only                           o Disputed
                   o At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                   o Check if this claim is for a community               o Student loans
                   debt                                                   o Obligations arising out of a separation agreement or divorce that you did not
                   Is the claim subject to offset?                        report as priority claims

                        No                                                o Debts to pension or profit-sharing plans, and other similar debts
                   o Yes                                                  • Other. Specify      MEDICAL BILL




     Official Form 106 E/F                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                                   Page 1 of 12
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Filed 10/21/19                                                                    Case 19-14428                                                                               Doc 1
      Debtor 1       ELSA M COTA                                                                              Case number      (if known)



                ADT                                                       Last 4 digits of account number        1488                                            $1,078.00
                Nonpriority Creditor's Name
                1501 YAMATO RD                                            When was the debt incurred?            01/2013
                Boca Raton, FL 33431
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.

                 •   Debtor 1 only                                        0   Contingent

                o Debtor 2 only                                               Unliquidated

                o Debtor 1 and Debtor 2 only                              0   Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                o Check if this claim is for a community                  0   Student loans
                debt                                                      0 Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                 •   No                                                   0   Debts to pension or profit-sharing plans, and other similar debts

                 o Yes                                                    U   Other. Specify    RESIDENTIAL ALARM


                ALLIANCE ONE                                              Last 4 digits of account number        5526                                               $350.00
                Nonpriority Creditor's Name
                4850 STREET SUITE 300                                     When was the debt incurred?            12/2018
                Feasterville Trevose, PA 19053
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.

                 •   Debtor 1 only                                        0   Contingent

                o Debtor 2 only                                               Unliquidated

                o Debtor 1 and Debtor 2 only                              0   Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                o Check if this claim is for a community                  0   Student loans
                debt                                                      0  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims
                •    No                                                   0   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                     U   Other. Specify    CREDIT CARD


               AMERICAN AUTO FINANCING                                    Last 4 digits of account number        4624                                          $16,000.00
                Nonpriority Creditor's Name
                P0 BOX 845336                                             When was the debt incurred?            121201 R
                Los Angeles, CA 90084-5336
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                • Debtor 1 only                                           o Contingent
                o Debtor 2 only                                           • Unliquidated

                o Debtor 1 and Debtor 2 only                              o Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                o Check if this claim is for a community                  o Student loans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                •No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                     • Other. Specify     AUTO LOAN




     Official Form 106 ElF                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 12
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Filed 10/21/19                                                                    Case 19-14428                                                                              Doc 1
      Debtor 1       ELSA M COTA                                                                               Case number (if known)


                AT&T U_VERSE                                              Last 4 digits of account number        8208                                               $927.00
                Nonpriority Creditor's Name
                 P0 BOX 3517                                              When was the debt incurred?            0712014
                 Bloomington, IL 61 702-3517
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.

                 •   Debtor 1 only                                        0   Contingent
                o Debtor 2 only                                           0   Unhiquidated
                o Debtor I and Debtor 2 only                              0   Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                o Check if this claim is for a community                  0 Student loans
                debt                                                      0 Obligations arising out of a separation agreement or divorce.that you did not
                Is the claim subject to offset?                           report as priority claims
                 •   No                                                   0   Debts to pension or profit-sharing plans, and other similar debts

                 o Yes                                                    N   Other. Specify    PHONE BILL


                CAPITAL ONE                                               Last 4 digits of account number        5774                                               $350.00
                Nonpriority Creditor's Name
                P0 BOX 30285                                              When was the debt incurred?            05/19
                Salt Lake City, UT 841 30-0285
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.

                 •   Debtor 1 only                                        0   Contingent

                o Debtor 2 only                                           N   Unliquidated

                o Debtor 1 and Debtor 2 only                              0   Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:             -
                o Check if this claim is for a community                  0   Student loans
                debt                                                      0  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims
                •    No                                                   0   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                     •   Other. Specify    CREDIT CARD


                CREDENCE RESORCE
      4.7       MANAGEMENT                                                Last 4 digits of account number        4964                                               $728.00
                Nonpriority Creditor's Name
                P0 BOX 2300                                               When was the debt incurred?            09/2019
                Southgate, MI 48195
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.

                • Debtor 1 only                                           o Contingent
                o Debtor 2 only                                           • Unliquidated

                o Debtor 1 and Debtor 2 only                              o Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                o  Check if this claim is for a community                 o Student loans
                debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                •No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                     • Other. Specify      PHONE BILL




     Official Form 106 E/F                                    Schedule ElF: Creditors Who Have Unsecured Claims                                                   Page 3 of 12
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Filed 10/21/19                                                                   Case 19-14428                                                                              Doc 1
      Debtor 1      ELSA M COTA                                                                              Case number (if known)




     R4.8
                CREDIT ACCEPTANCE
                CORPORATION
                Nonpriority Creditor's Name
                                                                         Last 4 digits of account number       4145                                           $11,436.00

                25505 WEST TWELVE MILE ROAD                              When was the debt incurred?           05/2019
                STE 3000
                Southfield, MI 48034
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                 • Debtor 1 only                                         o Contingent
                o Debtor 2 Only                                          • Unliquidated

                o Debtor 1 and Debtor 2 only                             o Disputed
                o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                o  Check if this claim is for a community                o Student loans
                debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                          report as priority claims

                 UNo                                                     o Debts to pension or profit-sharing plans, and other similar debts
                                                                                               REPOSSESSION VEHICLE 2005
                0 Yes                                                    • Other. Specify      CHEVROLET SUBURBAN


                CREDIT ONE BANK                                          Last 4 digits of account number       4199                                               $617.00
                Nonpriority Creditor's Name
                P0 BOX 98872                                             When was the debt incurred?           05/2017
                Las Vegas, NV 891 93-8872
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                • Debtor 1 only                                          o Contingent
                o Debtor 2 only                                          • Unliquidated

                o Debtor 1 and Debtor 2 only                             o Disputed
                o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                o Check if this claim is for a community                 o Student loans
               debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                          report as priority claims

                    No                                                   o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                    • Other. Specify      CREDIT CARD


      4.1
                DEFENDRE SECURITY COMPANY                                Last 4 digits of account number       8100                                            $2,373.00
               Nonpriority Creditor's Name
               P0 BOX 8099                                               When was the debt incurred?           06/20 19
               Anaheim, CA 92812
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                • Debtor 1 only                                          o Contingent
                o Debtor 2 only                                          • Unliquidated

                o Debtor 1 and Debtor 2 only                             o Disputed
                o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                o Check if this claim is for a community                 o Student loans
               debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                • No                                                     0 Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     • Other. Specify      UNKNOW




     Official Form 106 ElF                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 4 of 12
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Filed 10/21/19                                                                  Case 19-14428                                                                              Doc 1
     Debtor 1 ELSA M COTA                                                                                   Case number     (if known)


     4.1
               DIRECT TV                                                Last 4 digits of account number       2308                                               $160.00
               Nonpriority Creditor's Name
               P0 BOX 105261                                            When was the debt incurred?           06/20 19
               Atlanta, GA 30348-5261
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               • Debtor 1 only                                          o Contingent
               o Debtor 2 only                                          • Unliquidated

               o Debtor 1 and Debtor 2 only                             o Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               o  Check if this claim is for a community                o Student loans
               debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

                   No                                                   o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                    • Other. Specify      CABLE


     4.1       ENHANCED RECOVEVERY
     2         COMPANY LLC                                              Last 4 digits of account number       2766                                               $927.00
               Nonpriority Creditor's Name
               8414 BAYBERRY RD                                         When was the debt incurred?           01121114
               Jacksonville, FL 32256-7412
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               • Debtor 1 only                                          o Contingent
               o Debtor 2 only                                          • Unliquidated
               o Debtor 1 and Debtor 2 only                             o Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               o  Check if this claim is for a community                o Student loans
               debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

               • No                                                     o Debts to pension or profit-sharing plans, and other similar debts
               0   Yes                                                  • Other. Specify      PHONE BILL


     4.1
               FBCS INC                                                 Last 4 digits of account number       6983                                            $2,278.00
               Nonpriority Creditor's Name
               330 S. WARMINISTER RD SUITE                              When was the debt incurred?           OR/2017
               353
               Hatboro, PA 19040
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               • Debtor 1 only                                          o Contingent
               o Debtor 2 only                                          o Unliquidated
               o Debtor 1 and Debtor 2 only                             o Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                 o Student loans
              debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

                   No                                                   o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                    • Other. Specify      PHONE BILL




    Official Form 106 ElF                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 5 of 12
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Filed 10/21/19                                                                  Case 19-14428                                                                             Doc 1
      Debtor 1 ELSA M COTA                                                                                  Case number     (ft known)


      4.1
               FINANCIAL CREDIT NETWORK                                 Last 4 digits of account number       1022                                            $1,017.00
               Nonpriority Creditor's Name
               P0 BOX 3084                                              When was the debt incurred?
               Visalia, CA 93278-3084
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               • Debtor 1 Only                                          • Contingent

               o Debtor 2 only                                          o Unliquidated
               o Debtor 1 and Debtor 2 only                             o Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                 o Student loans
               debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

                   No                                                   o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                    • Other. Specify      UNKNOW


      4.1
               GRANT &WEBER                                             Last 4 digits of account number       5123                                               $431.00
               Nonpriority Creditor's Name
               P0 BOX 8669                                              When was the debt incurred?           05/2014
               Calabasas, CA 91 372-9669
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               • Debtor 1 only                                          • Contingent
               o Debtor 2 only                                          o Unliquidated
               o Debtor 1 and Debtor 2 only                             o Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                 o Student loans
               debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

               • No                                                     o Debts to pension or profit-sharing plans, and other similar debts
               DYes                                                     • Other. Specify      UNKNOW


     4.1
     16        INGRAM & ASSOCIATES                                      Last 4 digits of account number       8124                                               $100.00
               Nonpriority Creditor's Name
               1009 WINDCROSS COURT                                     When was the debt incurred?           08/2015
               Franklin, TN 37067
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               • Debtor 1 only                                          o Contingent
               o Debtor 2 only                                          o Unliquidated
               o Debtor 1 and Debtor 2 only                             o Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                 o Student loans
               debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

               •No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                    • Other. Specify      HOSPITAL BILL




     Official Form 106 ElF                                  Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 6 of 12
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Filed 10/21/19                                                                     Case 19-14428                                                                             Doc 1
      Debtor 1 Fl SA M CflTA                                                                                  Case number (t known)

      4.1
     17         LEASE COMPANY SNAP RTO LLC                                Last 4 digits of account number       76CA                                            $1,850.00
                Nonpriority Creditor's Name
                P0 BOX 26561                                              When was the debt incurred?           05/2019
                Salt Lake City, UT 84126
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.

                • Debtor 1 only                                           o Contingent
                o Debtor 2 only                                           • Unliquidated

                o Debtor 1 and Debtor 2 only                              o Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                o  Check if this claim is for a community                 o Student loans
                debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                UNo                                                       o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                     • Other. Specify      TIRES


      4.1
                LVNV FUNDING LLC                                          Last 4 digits of account number       4199                                               $617.00
                Nonpriority Creditor's Name
                C/O RESURGENT CAPITAL                                     When was the debt incurred?           01/2017
                SERVICES
                Greenville, SC 29603
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.

                • Debtor 1 only                                           IN   Contingent

                o Debtor 2 only                                           o Unliquidated
                o Debtor 1 and Debtor 2 only                              o Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                o  Check if this claim is for a community                 o Student loans
                debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                •No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                     • Other. Specify      UNKNOW



      4.1       MEDICAL RIVERWALK
                PEDIATRICS                                                Last 4 digits of account number       9663                                                $70.00
                Nonpriority Creditor's Name
                5330 OFFICE CENTER CT                                     When was the debt incurred?           01/2016
                Bakersfield, CA 93309-1562
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.

                • Debtor 1 only                                           o Contingent
                o Debtor 2 only                                           • Unliquidated

                o Debtor 1 and Debtor 2 only                              o Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                o Check if this claim is for a community                  o Student loans
                debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                    No                                                    o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                     • Other. Specify      MED BILL




     Official Form 106 ElF                                    Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 7 of 12
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Filed 10/21/19                                                                     Case 19-14428                                                                              Doc 1
      Debtor 1       ELSA M COTA                                                                              Case number (i known)


      4.2
     10          MEDICAL_KERN RADIOLOGY                                   Last 4 digits of account number       8065                                                $355.00
                 Nonpriority Creditor's Name
                P0 BOX 3028                                               When was the debt incurred?           09/2019
                Visalia, CA 93278-3028
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.

                 • Debtor 1 only                                          o Contingent
                 o Debtor 2 only                                          • Unliquidated

                 o Debtor 1 and Debtor 2 only                             o Disputed
                 o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                 o Check if this claim is for a community                 O    Student loans
                debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                 •No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                    • Other. Specify      MED BILL


      4.2
                 MEMORIAL MEDICAL HOSPITAL                                Last 4 digits of account number       0222                                                $318.00
                Nonpriority Creditor's Name
                26610 W AGOURA RD STE 209                                 When was the debt incurred?           09/2013
                Calabasas, CA 91302
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.

                 • Debtor 1 only                                          o Contingent
                o Debtor 2 only                                           • Unliquidated
                o Debtor 1 and Debtor 2 only                              o Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                o  Check if this claim is for a community                 o Student loans
                debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                     No                                                   o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                    • Other. Specify      MED BILL


      4.2
                MEMORIAL MEDICAL HOSPITAL                                 Last 4 digits of account number       0222                                                $324.00
                Nonpriority Creditor's Name
                26610 W AGOURA RD STE 209                                 When was the debt incurred?           OqI2fl1'4
                CALABASAS, CA 91312
                Number Street CityState Zip Code                          As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

              -• Debtor 1 only                                            • Contingent

                o Debtor 2 only                                           o Unliquidated
                o Debtor 1 and Debtor 2 only                              o Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                o  Check if this claim is for a community                 o Student loans
                debt                                                      .0 Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                •No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                     • Other. Specify      MED BILL




     Official Form 106 ElF                                    Schedule ElF: Creditors Who Have Unsecured Claims                                                   Page 8 of 12
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Filed 10/21/19                                                                  Case 19-14428                                                                              Doc 1
      Debtor 1     Fl RA M CflTA                                                                            Case number      (if known)




     E4.2
               MONEY MART
               Nonpriority Creditors Name
                                                                        Last 4 digits of account number       0694                                            $8,370.00

               74 EAST SWEDESFORD RD STE                                When was the debt incurred?           12/2016
               150
               Malvern, PA 19355
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                 • Debtor 1 Only                                        o Contingent
               o Debtor 2 only                                          • Unliquidated

               o Debtor 1 and Debtor 2 only                             o Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               o  Check if this claim is for a community                o Student loans
               debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

                    No                                                  o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                    • Other. Specify      UNKNOW


      4.2
               PORTAFOLIO RECOVERY                                      Last 4 digits of account number       8893                                               $350.00
               Nonpriority Creditors Name
               120 CORPORATE BLV STE 100                                When was the debt incurred?           05/2019
               Norfolk, VA 23502
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               • Debtor 1 only                                          • Contingent
               o Debtor 2 only                                          o Unliquidated
               o Debtor 1 and Debtor 2 Only                             o Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               o  Check if this claim is for a community                o Student loans
               debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

               •No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                    • Other. Specify      CREDIT CARD


     4.2
               PROGRESSIVE LEASING                                      Last 4 digits of account number       6236                                            $3,807.00
               Nonpriority Creditors Name
               256 DATA DR                                              When was the debt incurred?           0312010
               Draper, UT 84020
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               I   Debtor 1 only                                        o Contingent
               o Debtor 2 only                                          • Unliquidated

               o Debtor 1 and Debtor 2 only                             o Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               o  Check if this claim is for a community                o Student loans
               debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

               •No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               DYes                                                     • Other. Specify      UNKNOW




     Official Form 106 ElF                                  Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 9 of 12
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Filed 10/21/19                                                                   Case 19-14428                                                                              Doc 1
     Debtor I       ELSA M COTA                                                                              Case number (if known)

     4.2
                SAFE ONE CU                                              Last 4 digits of account number       6910                                           $13,345.00
                Nonpriority Creditor's Name
               400 OAK ST STE J                                          When was the debt incurred?           0812019
               Bakersfield, CA 93304-1 744
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                • Debtor 1 only                                          o Contingent
                o Debtor 2 Only                                          • Unliquidated

                o Debtor 1 and Debtor 2 only                             o Disputed
                o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                o Check if this claim is for a community                 o Student loans
               debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                          report as priority claims

                    No                                                   o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                    • Other. Specify      AUTOMOBILE LOAN



               SPRINT                                                    Last 4 digits of account number       7268                                               $824.00
               Nonpriority Creditor's Name
               P0 BOX 57547                                              When was the debt incurred?           fl412fl17
               Jacksonville, FL 32241
               Number Street City State Zip Code                         Asof the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                • Debtor 1 only                                          o Contingent
               o Debtor 2 only                                           • Unliquidated

               o Debtor 1 and Debtor 2 only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o  Check if this claim is for a community                 o Student loans
               debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                    No                                                   o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     • Other. Specity      CABLE BILL


     4.2
               TARGET                                                    Last 4 digits of account number       8796                                               $300.00
               Nonpriority Creditor's Name
               P0 BOX                                                    When was the debt incurred?           06/05/2017
               Dallas, TX 75266-0170
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               • Debtor 1 only                                           o Contingent
               o Debtor 2 only                                           • Unliquidated

               o Debtor 1 and Debtor 2 only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o  Check if this claim is for a community                 o Student loans
               debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

               •No                                                       o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     • Other. Specify      CREDIT CARD




    Official Form 106 ElF                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                   Page 10 of 12
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Filed 10/21/19                                                                   Case 19-14428                                                                               Doc 1
      Debtor 1       ELSA M COTA                                                                             Case number (i known)

      4.2
                TD BANK USA/TARGET CREDIT                                Last 4 digits of account number       9967                                                 $357.00
                 Nonpriority Creditor's Name
                 P0 BOX 1470                                             When was the debt incurred?           11/2016
                 Minneapolis, MN 55440
                 Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.

                 • Debtor 1 Only                                         o Contingent
                 o Debtor 2 only                                         • Unliquidated

                 o Debtor 1 and Debtor 2 only                            o Disputed
                 o At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                 o Check if this claim is for a community                o Student loans
                debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                         report as priority claims

                     No                                                  o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                   • Other. Specify      CREDT CARD


      4.3
                VERIZON WIRELESS                                         Last 4 digits of account number       4698                                              $2,227.00
                 Nonpriority Creditor's Name
                 16 MCLELAND RD                                          When was the debt incurred?           12/2015
                 Saint Cloud, MN 56303
                 Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.

                 • Debtor 1 only                                         o Contingent
                 o Debtor 2 only                                         • Unliquidated
                 o Debtor 1 and Debtor 2 only                            o Disputed
                 o At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                 o Check if this claim is for a community                o Student loans
                debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                          report as priority claims

                 •No                                                     o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                   • Other. Specify      PHONE BILL

     IIIc            List Others to Be Notified About a Debt That You Already Listed
       Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts I or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts I or 2, do not fill out or submit this page.

     13MM Add the Amounts for Each Type of Unsecured Claim
        Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
        type of unsecured claim.

                                                                                                                                       Total Claim
                             6a.   Domestic support obligations                                                6a.       $                           0.00
      Total
      claims
      from Part I            6b.   Taxes and certain other debts you owe the government                        6b.       $                           0.00
                                   Claims for death or personal injury while you were intoxicated              6c.       $                           0.00
                                   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                           0.00

                                   Total Priority. Add lines 6a through 6d.                                    6e.       $                           0.00-

                                                                                                                                       Total Claim
                                   Student loans                                                               6f        $                           0.00
     Total
     claims
     from Part2                    Obligations arising out of a separation agreement or divorce that
                                   you did not report as priority claims                                                 $                           0.00
                                   Debts to pension or profit-sharing plans, and other similar debts                     $                           0.00

     Official Form 106 ElF                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                    Page 11 of 12
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Filed 10/21/19                                                                   Case 19-14428                                                                    Doc 1
      Debtor 1     ELSA M COTA                                                                            Case number   (if known)

                             61.   Other. Add all other nonpriority unsecured claims. Write that amount
                                   here.                                                                                             72,351.00

                             6j.   Total Nonpriority. Add lines 61 through 6i.                                    $                  72,351.00




     Official Form 106 ElF                                   Schedule ElF: Creditors Who Have Unsecured Claims                                        Page 12 of 12
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      Debtor 1                         ELSA M COTA
                                      First Name                          Middle Name

      Debtor 2
      (Spouse if, filing)             First Name                          Middle Name


      United States Bankruptcy Court for the:                      EASTERN DISTRICT OF CALIFORNIA

      Case number
      (if known)
                                                                                                                                              o   Check if this is an
                                                                                                                                                  amended filing



     Official Form '1 06G
     Schedule G: Executory Contracts and Unexpired Leases                                                                                                          12/15
     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
     additional pages, write your name and case number (if known).

             Do you have any executory contracts or unexpired leases? i
             • No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             o Yes. Fill in all of the information below even if the contacts of leases are listed on        Schedule A/B:Property (Official Form 106 NB):

     2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
          example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
          and unexpired leases.


              Person or company with whom you have the contract or lease                            State what the cántract or lease is for
                                      Name, Number, Street, cit y, State and ziP code
       2.1
                Name


                Number              Street

                City                                            State                   ZIP Code
       2.2
                Name


                Number              Street

                City                                            State                   ZIP Code
       2.3
                Name


                Number              Street

                City                                            State                   ZIP Code
       2.4
                Name


                Number              Street

                City                                            State                   ZIP Code
       2.5
                Name


                Number              Street

                                                                                 11
                City                                            State                   ZIP Code




     Official Form 106G                                        Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of I
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Filed 10/21/19                                                                       Case 19-14428                                                              Doc 1


      Debtor 1                    ELSA M COTA
                                  First Name                           Middle Name           Last Name

      Debtor 2
      (Spouse if, filing)         First Name                           Middle Name           Last Name


      United States Bankruptcy Court for the:                  EASTERN DISTRICT OF CALIFORNIA

      Case number
      (if known)
                                                                                                                                    O Check if this is an
                                                                                                                                       amended filing


     Official Form 106H
     Schedule H: Your Codebtors                                                                                                                         12/15

     Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
     people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
     fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
     your name and case number (if known). Answer every question.

                Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

            •No
            o Yes
              Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
            Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

            • No. Go to line 3.
           o Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

            In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
            in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
            Form 106D), Schedule E/F (Official Form I06EIF), or Schedule G (Official Form 106G). Use Schedule D, Schedule ElF, or Schedule G to fill
            out Column 2.

                     Column .1: Your cOdebtOr                                                                Column 2: The creditor to whom you owe the debt
                     Name, Number, Street, city, State and ZIP code                                          Check all schedules that apply:

                                                                                                             o Schedule D, line
                      Name
                                                                                                             o Schedule E/F, line
                                                                                                             o Schedule G, line
                      Number            Street
                      City                                     State                          ZIP Code




                                                                                                             0 Schedule D, line
                      Name
                                                                                                             0 Schedule E/F, line
                                                                                                             0 Schedule G, line
                      Number            Street
                      City                                     State                          ZIP Code




     Official Form 106H                                                                  Schedule H: Your Codebtors                                 Page 1 of 1
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Filed 10/21/19                                                        Case 19-14428                                                                             Doc 1




     Debtor 1                       ELSA M COTA

     Debtor 2
     (Spouse, if filing)


     United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                             Check if this is:
     (If known)
                                                                                                             o     An amended filing
                                                                                                             o     A supplement showing postpetition chapter
                                                                                                                   13 income as of the following date:

      Official Form 1061                                                                                           lAfl!AZK!AiJ1al

      Schedule I: Your Income                                                                                                                            12/15
     Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
     supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
     spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
     attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     U1Iu                  Describe Employment

      1. Fill in your employment                                        FJDebtor I                             i
           information                                                                                        j          btor 2 or non filing spouse

            If you have more than one iob,                               • Emrloyed                                  0   Employed
            attach a separate page with           Employment status
                                                                         0 Not employed                              0 Not employed
            information about additional
            employers.
                                                  Occupation             CLERK
            Include part-time, seasonal, or
            self-employed work.                   Employer's name        SUPERIOR COURT

            Occupation may include student        Employers address
                                                                         1415 TRUXTUN AVE
            or homemaker, if it applies.
                                                                         Bakersfield, CA 93301

                                                  How long employed there?           7 YEARS

     IT1i                  Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.

     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                                     tor 11      FTbtor2 or
                                                                                                                                 non-filing spouse I

            List monthly gross wages, salary, and commissions (before all payroll
            deducfions). If not paid monthly, calculate what the monthly wage would be.                $           3,000.00      $              N/A

            Estimate and list monthly overtime pay.                                                   +$                0.00     +$             N/A

            Calculate gross Income. Add line 2 + line 3.                                               $      3,000.00                $      N/A




     Official Form 1061                                                      Schedule I: Your Income                                                   page 1
Filed 10/21/19                                                         Case 19-14428                                                                                Doc 1


      Debtor 1   ELA M CflTA                                                                               Case number   (if known)




                                                                                                                                        For Di 1 br
                                                                                                                                        non4iIingspouse
           Copy line 4 here                                                                      4.            $       3,000.00         $               N/A

      5.   List all payroll deductions:
           5a.   Tax, Medicare, and Social Security deductions                                   5a.  $                  154.00         $               N/A
           5b.   Mandatory contributions for retirement plans                                         $                     0.00        $               N/A
                 Voluntary contributions for retirement plans                                    5c.  $                     0.00        $               N/A
           5d.   Required repayments of retirement fund loans                                    5d.  $                     0.00        $               N/A
           5e.   Insurance                                                                       5e.  $                  232.00         $               N/A
           5f.   Domestic support obligations                                                    5f.  $                     0.00        $               N/A
           5g.   Union dues                                                                      5g.  $                     0.00        $               N/A
           5h.   Other deductions. Specify:                                                      5h.+ $                     0.00      + $               N/A
      6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.        $             386.00         $               N/A
      7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.        $           2,614.00         $               N/A
      8.   List all other income regularly received:
           8a.    Net income from rental property and from operating a business,
                  profession, or farm
                  Attach a statement for each property and business showing gross
                  receipts, ordinary and necessary business expenses, and the total
                  monthly net income.                                                            8a.           $            0.00        $               N/A
           8b.    Interest and dividends                                                                       $            0.00        $               N/A
                  Family support payments that you, a non-filing spouse, or a dependent
                  regularly receive
                  Include alimony, spousal support, child support, maintenance, divorce
                  settlement, and property settlement.                                           8c.           $            0.00        $               N/A
           8d.    Unemployment compensation                                                      8d.           $            0.00        $               N/A
           8e.    Social Security                                                                8e.           $            0.00        $               N/A
                 Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                        8f.  $                     0.00   $                    N/A
                 Pension or retirement income                                                    8g.  $                     0.00   $                    N/A
                 Other monthly income. Specify:                                                  8h.+ $                     0.00 + $                    N/A

     9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             . 9.       $                0.00        $               N/A

           Calculate monthlyincome. Add Iine7+line9..                                          10.     $           2,614.00 + $              N/A = $          2,614.00
           Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
           State all other regular contributions to the expenses that you list in Schedule J.
           Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
           other friends or relatives.
           Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
           Specify:                                                                                                                  11. +$                       0.00

           Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
           Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
           applies                                                                                                                            12.   $         2,614.00
                                                                                                                                                    Combined
                                                                                                                                                    monthly income
           Do you expect an increase or decrease within the year after you file this form?
           •     No.
           o     Yes. Explain:




     Official Form 1061                                                        Schedule I: Your Income                                                         page 2
Filed 10/21/19                                                              Case 19-14428                                                                         Doc 1



       111111

       Debtor 1                ELSA M COTA                                                                        Check if this is:
                                                                                                                  O An amended filing
       Debtor 2                                                                                                   o   A supplement showing postpetition chapter
       (Spouse, if filing)                                                                                            13 expenses as of the following date:

       United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA                                            MM/DD/YYYY

       Case number
       (If known)



       Official Form I 06J
       Schedule J: Your Expenses                                                                                                                             12/15
       Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
       information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
       number (if known). Answer every question.

      III       Describe Your Household
       1 Is this a joint case?
                • No. Go to line 2.
                o Yes. Does Debtor 2 live in a separate household?
                        ONo
                        oYes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

                Do you have dependents?       0   No
                Do not list Debtor 1 and                 Fill out this information for   Dependent's relationship to       Dependent's      Does dependent
                                              • Yes.     each dependent
                Debtor 2.                                                                Debtor 1 or Debtor 2              age              live with you?

                Do not state the                                                         JEREMIAH                                           0 No
                dependents names.                                                        RODRIGUEZ                         5                •  Yes
                                                                                         ZECHARIAH                                          0 No
                                                                                         RODRIGUEZ                         7                •  Yes
                                                                                                                                            DNo
                                                                                         SARAH RODRIGUEZ                   12               U Yes
                                                                                         MARYJANE                                           0 No
                                                                                         RODRIGUEZ                         14               U Yes
                                                                                                                                            o No
                                                                                         SARAH M HERNANDEZ                 17               •Yes
                Do your expenses include               • No
                expenses of people other than
                yourself and your dependents?          0 Yes

      ITIW       Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule!: Your Income
      (Official Form 1061.)


      4.        The rental or home ownership expenses for your residence. Include first mortgage
                payments and any rent for the ground or lot.                                                      4. $                          600.00

                If not included in line 4:

                4a.   Real estate taxes                                                                         4a. $                               0.00
                4b.   Property, homeowner's, or renter's insurance                                                  $                               0.00
                      Home maintenance, repair, and upkeep expenses                                             4c. $                              80.00
                4d.   Homeowner's association or condominium dues                                               4d. $                               0.00
      5.        Additional mortgage payments for your residence, such as home equity loans                       5. $                               0.00

      Official Form 106J                                                   Schedule J: Your Expenses                                                         page 1
Filed 10/21/19                  Case 19-14428                                            Doc 1


       Debtor 1   ELSA M COTA                               Case number (if known)




      Official Form 106J        Schedule J: Your Expenses                            page 2
Filed 10/21/19                                                             Case 19-14428                                                                                   Doc 1


       Debtor 1     ELSA M COTA                                                                              Case number (if known)

       6.    Utilities:
             6a.     Electricity, heat, natural gas                                                                6a.    $                              150.00
             6b.     Water, sewer, garbage collection                                                                     $                                0.00
                    Telephone, cell phone, Internet, satellite, and cable services                                 6c.    $                              200.00
             6d.     Other. Specify:                                                                              6d.     $                                0.00
       7.    Food and housekeeping supplies                                                                         7.    $                              800.00
       8.    Childcare and children's education costs                                                                     $                                  0.00
             Clothing, laundry, and dry cleaning                                                                     9.   $                              200.00
       10.   Personal care products and services                                                                    10.   $                              150.00
       11.   Medical and dental expenses                                                                            11.   $                               50.00
       12.   Transportation. Include gas, maintenance, bus or train fare.
             Do not include car payments.                                                                           12.   $                              250.00
       13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13. $                                    0.00
       14.   Charitable contributions and religious donations                                                       14.$                                     0.00
       15.   Insurance.
             Do not include insurance deducted from your pay or included in lines 4 or 20.
             15a. Life insurance                                                                                  15a.    $                                  0.00
             15b. Health insurance                                                                                        $                                0.00
                    Vehicle insurance                                                                             15c.    $                              100.00
             15d. Other insurance. Specify:                                                                      15d.     $                                0.00
       16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
             Specify:                                                                                             16.     $                                 0.00
       17.   Installment or lease payments:
             17a. CarpaymentsforVehide 1                                                                          17a.    $                                 0.00
             I 7b. Car payments for Vehicle 2                                                                     1 7b.   $                                 0.00
             17c. Other. Specify:                                                                                17c.     $                                 0.00
             17d. Other. Specify:                                                                                17d.     $                                 0.00
      18. Your payments of alimony, maintenance, and support that you did not report as
          deducted from your pay on line 5, Schedule!, Your Income (Official Form 1061).          18. $                                                     0.00
      19. Other payments you make to support others who do not live with you.                         $                                                     0.00
          Specify:
          Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
          20a. Mortgages on other property                                                     20a. $                                                       0.00
          20b. Real estate taxes                                                                      $                                                     0.00
                Property, homeowner's, or renter's insurance                                   20c. $                                                       0.00
          20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
          20e. Homeowner's association or condominium dues                                     20e. $                                                       0.00
      21. Other: Specify:                                                                      21. +$                                                       0.00
      22.    Calculate your monthly expenses
                 Add lines 4 through 21.                                                                                       $                    2,580.00
                 Copy line 22 (monthly expensesfor Debtor 2), if any, from Official Form 106J-2                                $
                  Add line 22a and 22b. The result is your monthly expenses.                                                   $                    2,580.00
      23.    Calculate your monthly net income.
             23a. Copy line 12 (your combined monthly income) from Schedule I.                                    23a.    $                            2,614.00
             23b. Copy your monthly expenses from line 22c above.                                                         -$                           2,580.00

                   Subtract your monthly expenses from your monthly income.
                   The result is your monthly net income.                                                         23c.    $                                34.00

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
           For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
           modification to the terms of your mortgage?
             •No.
             0 Yes.           I Explain here:                                                                                                                                   I




      Official Form 106J                                                  Schedule J: Your Expenses                                                                    page 3
Filed 10/21/19                                                                 Case 19-14428                                                                           Doc 1




      Debtor 1                    ELSA M COTA
                                  First Name                     Middle Name              Last Name

      Debtor 2
      (Spouse if, filing)         First Name                     Middle Name


      United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

      Case number
      (if known)
                                                                                                                                         O   Check if this is an
                                                                                                                                             amended filing



     Official Form 106Dec
     Declaration About an Individual Debtor's Schedules                                                                                                            12/15

     If two married people are filing together, both are equally responsible for supplying correct information.

     You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
     obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
     years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571..



                            Sign Below


             Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                     No

             o       Yes. Name of person                                                                              Attach Bankruptcy Petition Preparer's Notice,
                                                                                                                      Declaration, and Signature (Official Form 119)


            Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
            that they are true and correct.



                   ELSA M COTA                                                                Signature of Debtor 2
                   Signature of Debtor 1

                   Date       October    16. 2019                                             Date




     Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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Filed 10/21/19                                                                     Case 19-14428                                                                                  Doc 1




      Debtor 1                 ELSA M COTA
                               First Name                       Middle Name

      Debtor 2
      (Spouse if, filing)      First Name                       Middle Name


      United States Bankruptcy Court for the:             EASTERN DISTRICT OF CALIFORNIA

      Case number
      (if known)
                                                                                                                                                    o   Check if this is an
                                                                                                                                                        amended filing



     Official Form 107
     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/19
     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
     number (if known). Answer every question.

     1flTh            Give Details About Your Marital Status and Where You Lived Before

            What is your current marital status?

            0       Married
            I       Not married

            During the last 3 years, have you lived anywhere other than where you live now?

            o       No
            • Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

             Debtor I Prior Address:                                Dates Debtor I                   Debtor 2 Prior Address:                                Dates Debtor 2
                                                                    lived there                                                                             lived there
              11200 VISTA DEL CRISTO DR                             From-To:                         0   Same as Debtor 1                                   0 Same as Debtor 1
              Bakersfield, CA 93311                                 20151009/2019                                                                           From-To:




          Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
     states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

            • No
            o       Yes. Make sure you fill out Schedule H: Your Codebtors ( Official Form 106H).

     I1W              Explain the Sources of Your Income

            Did you have any income from employment or from operating a business during this year or the two previous calendar years?
            Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
            If you are filing a joint case and you have income that you receive together, list it only once under Debtor).

            DNo
            • Yes. Fill in the details.

                                                      [Dbtor I                                                        7     [Debtor 2                                            7
                                                       Sources of income                     Gross income                   Sources of income               Gross income
                                                       Check all that apply.                 (before deductions and         Check all that apply.           (before deductions
                                                                                             exclusions)                                                    and exclusions)

     From January 1 of current year until • Wages, commissions,                                          $23,202.00         0 Wages, commissions,
     the date you filed for bankruptcy:                                                                                     bonuses, tips
                                           bonuses, tips

                                                       0   Operating a business                                             0 Operating a business

     Official Form 107                                     Statement    of   Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
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Filed 10/21/19                                                                   Case 19-14428                                                                         Doc 1
      Debtor 1       ELSA M COlA                                                                                 Case number (if known)



                                                        [ötori                                                         IDeb2                      TT
                                                         Sources of income               Gross income                   Sources of income         Gross income
                                                         Check all that apply.           (before deductions and         Check all that apply.     (before deductions
                                                                                         exclusions)                                              and exclusions)

      For last calendar year:                            • Wages, commissions,                         $1,463.00         o Wages, commissions,
      (January Ito December 31, 2018)                                                                                    bonuses, tips
                                                         bonuses, tips

                                                         o Operating a business                                          o Operating a business
      For the calendar year before that:                 • Wages, commissions,                        $39,249.00         o Wages, commissions,
      (January Ito December 31, 2017)                                                                                    bonuses, tips
                                                         bonuses, tips

                                                         o Operating a business                                          o Operating a business

           Did you receive any other income during this year or the two previous calendar years?
           Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
           and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
           winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

           List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                 No
           o     Yes. Fill in the details.

                                                        [Debtorl                                                    I[                          TT                     T
                                                        Sources of income                Gross income from               Sources of income        Gross income
                                                        Describe below,                  each source                     Describe below.          (before deductions
                                                                                         (before deductions and                                   and exclusions)
                                                                                         exclusions)

     ITI             List Certain Payments You Made Before You Filed for Bankruptcy

           Are either Debtor l's or Debtor 2's debts primarily consumer debts?
           0 No. Neither Debtor I nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as incurred by an
                      individual primarily for a personal, family, or household purpose."

                           During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                           o   No.     Go to line 7.
                           o   Yes List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                       paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                       not include payments to an attorney for this bankruptcy case.
                           * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           • Yes. Debtor I or Debtor 2 or both have primarily consumer debts.
                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                           • No.        Go to line 7.
                           o   Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                        include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                        attorney for this bankruptcy case.


            Credito?s Name and Address                                Dates of payment            Total amount          Amount you Was this payment for
                                                                                                             paid            still owe




     Official Form   107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
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Filed 10/21/19                                                                  Case 19-14428                                                                                  Doc 1
      Debtor 1       ELSA M COTA                                                                                Case number       ii known)




            Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
            Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
            of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
            a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
            alimony.


                 No
            o    Yes. List all payments to an insider.
            Insiders Name and Address                                Dates of payment            Total amount          Amount you             Reason for this payment
                                                                                                         paid            still owe

            Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
            insider?
            Include payments on debts guaranteed or cosigned by an insider.

                 No
            o    Yes. List all payments to an insider
            Insider's Name and Address                          -    Dates of payment            Total amount          Amount you             Reason for this payment
                                                                                                         paid            still owe            Include creditor's name

     IrIT            Identify Legal Actions, Repossessions, and Foreclosures

            Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
            List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
            modifications, and contract disputes.

            •No
            o    Yes. Fill in the details.
            Case title                                               Nature of the case          Court or agency                              Status of the case
            Case number

            Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,                          seized, or levied?
            Check all that apply and fill in the details below.

            o    No. Go to line 11.
            • Yes. Fill in the information below.
            Creditor Name and Address                                Describe the Property                                          Date                           Value of the
                                                                                                                                                                      property
                                                                     Explain what happened
            AMERICAN AUTO FINANCING                                  CHEVROLET 2015 SILVERADO                                                                      $16,000.00
            P0 BOX 845336
            Los Angeles, CA 90084-5336                               •   Property was repossessed.
                                                                     o Property was foreclosed.
                                                                     o Property was garnished.
                                                                     o Property was attached, seized or levied.
            CREDIT ACCEPTANCE                                        2005 CHEVOLET SUBURBAN                                         2018
            CORPORATION
            25505 WEST TWELVE MILE ROAD                              • Property was repossessed.
            STE 3000                                                 o Property was foreclosed.
            Southfield, MI 48034                                     o Property was garnished.
                                                                     o Property was attached, seized or levied.
            SAFE ONE CU                                              CHECROLET TAHO                                                 2017                            $6,000.00
            400 OAK ST STE J
            Bakersfield, CA 93304-1744                               • Property was repossessed.
                                                                     o Property was foreclosed.
                                                                     o Property was garnished.
                                                                     o Property was attached, seized or levied.

     Official Form   107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 3
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Filed 10/21/19                                                                         Case 19-14428                                                                              Doc 1
      Debtor I      ELSA M COTA                                                                                         Case number       (if known)




           Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
           accounts or refuse to make a payment because you owed a debt?
           •No
           o     Yes. Fill in the details.
            Creditor Name and Address                                      Describe the action the creditor took                             Date action was             Amount
                                                                                                                                             taken

           Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
           court-appointed receiver, a custodian, or another official?

                 No
           o     Yes

     IflTL         List Certain Gifts and Contributions

           Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           •No
           o     Yes. Fill   in   the details   for   each gift.
            Gifts with a total value of more than $600                           Describe the gifts                                          Dates you gave                 Value
            per person                                                                                                                       the gifts

            Person to Whom You Gave the Gift and
            Address:

           Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
                 No
           o     Yes. Fill in the details for each gift or contribution.
            Gifts or contributions to charities that total                       Describe what you contributed                               Dates you                      Value
            more than $600                                                                                                                   contributed
            Charity's Name
            Address (Number, Street, City, State and ZIP Code)

     IflL          List Certain Losses

           Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
           or gambling?

           • No
           o     Yes. Fill in the details.
            Describe the property you lost and                         Describe any insurance coverage for the loss                          Date of your      Value of property
            how the loss occurred                                                                                                            loss                           lost
                                                                       Include the amount that insurance has paid. List pending
                                                                       insurance claims on line 33 of Schedule A/B: Property.

     Ifl           List Certain Payments or Transfers

           Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
           consulted about seeking bankruptcy or preparing a bankruptcy petition?
           Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

                 No
           • Yes. Fill in the details.
            Person Who Was Paid                                                 • Description and value of any property                      Date payment             Amount of
            Address                                                               transferred                                                or transfer was           payment
            Email or website address                                                                                                         made
            Person Who Made the Payment, if Not You
            JESUS MURILLO                                                                                                                    10/09/2019                  $125.00
            2315 EDISON HWY
            Bakersfield, CA 93307
            taxpreparation@bak.rr.com
            ELSA COTA




     Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 4

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      Debtor 1 ELSA M COlA                                                                                           Case number (if known)



           Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
           promised to help you deal with your creditors or to make payments to your creditors?
           Do not include any payment or transfer that you listed on line 16.

           •No
           o     Yes. Fill in the details.
           Person Who Was Paid                                                Description and value of any property                    Date payment       -          Amount of
           Address                                                            transferred                                              or transfer was                payment
                                                                                                                                       made

          Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
          transferred in the ordinary course of your business or financial affairs?
          Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
          include gifts and transfers that you have already listed on this statement.
           • No
           o     Yes. Fill in the details.
           Person Who Received Transfer                                       Description and value of                   Describe any property or        Date transfer was
           Address                                                            property transferred                       payments received or debts      made
                                                                                                                         paid in exchange
            Person's relationship to you

          Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
          beneficiary? (These are often called asset-protection devices.)
           UNo
           o     Yes. Fill in the details.
            Name of trust                            ,                        Description and value of the property transferred                          Date Transfer was
                                                                                                                                                         made

     ITiL          List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

          Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
          sold, moved, or transferred?
          Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
          houses, pension funds, cooperatives, associations, and other financial institutions.
                 No
           o    Yes. Fill in the details.
           Name of Financial Institution and                             Last 4 digits of           Type of account or           Date account was                 Last balance
          • Address (Number, Street, City, State and ZIP                 account number             instrument                   closed, sold,                before closing or
           Code)
                                                                                                                                 moved, or                             transfer
                                                                                                                                 transferred

          Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
          cash, or other valuables?

           • No
           o    Yes. Fill in the details.
           Name of Financial Institution                                      Who else had access to it?             Describe the contents                    Do you still
           Address (Number, Street, City, State and ZIP Code)                 Address (Number, Street, cit y ,                                                have it?
                                                                              State and ZIP Code)

          Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           • No
           o    Yes. Fill in the details.
           Name of Storage Facility                                           Who else has or had access             Describe the contents                    Do you still
           Address (Number, Street, City, State and ZIP Code)                 to it?                                                                          have it?
                                                                              Address (Number, Street, City,
                                                                              State and ZIP Code)




     Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 5
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      Debtor 1 ELSA M COTA                                                                                           Case number   (if known)




     I11Ie        Identify Property You Hold or Control for Someone Else

          Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
          for someone.

           •No
           o    Yes. Fill in the details.
           Owner's Name                                                   Where is the property?                     Describe the property                      Value
           Address (Number, Street, city, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                          Code)


     OWN Give Details About Environmental Information
     For the purpose of Part 10, the following definitions apply:

     • Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
         toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
         regulations controlling the cleanup of these substances, wastes, or material.
     • Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
        to own, operate, or utilize it, including disposal sites.
     • Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
         hazardous material, pollutant, contaminant, or similar term.

     Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

           Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           •No
           o    Yes. Fill in the details.
           Name of site                                                   Governmental unit                             Environmental law, if you   Date of notice
           Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                          ZiP Code)


     25. Have you notified any governmental unit of any release of hazardous material?

           •No
           o    Yes. Fill in the details.
           Name of site                                                   Governmental unit                             Environmental law, if you   Date of notice
           Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                          ZIP Code)

          Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           •No
           o    Yes. Fill in the details.
           Case Title                                                     Court or agency                            Nature of the case             Status of the
           Case Number                                                    Name                                                                      case
                                                                          Address (Number, Street, City,
                                                                          State and ZIP Code)


     I1I Give Details About Your Business or Connections to Any Business

          Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                o A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                o A member of a limited liability company (LLC) or limited liability partnership (LLP)
                o A partner in a partnership
                o An officer, director, or managing executive of a corporation
                o An owner of at least 5% of the voting or equity securities of a corporation



     Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 6

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      Debtor 1       ELSA M COTA                                                                                      Case number       (if known)




           • No. None of the above applies. Go to Part 12.

           o      Yes. Check all that apply above and fill in the details below for each business.
             Business Name                                                Describe the nature of the business               Employer Identification number
             Address                                                                                                        Do not include Social Security number or ITIN.
             (Number, Street, City, State and ZIP Code)                   Name of accountant or bookkeeper
                                                                                                                            Dates business existed

     28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
         institutions, creditors, or other parties.

           • No
           o      Yes. Fill in the details below.
             Name                                                         Date Issued
             Address
             (Number, Street, City, State and ZIP Code)

     ORM gn Below
     I have read the answers on this Statement of FinancialAffairs and any attachments, and I declare under penalty of perjury that the answers
     are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
     with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
     18U.S.C. §§ 152, 1341, 1519, and 3571.

                                                  &
      ELSA M COTA                                                                  Signature of Debtor 2
      Signature of Debtor I

      Date      October 16, 2019                                                   Date

     Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
     •No
     o Yes
     Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
     •No
     o Yes. Name of Person                       . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




                                                            1
     Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 7
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      Debtor 1                 ELSA M COTA
                               First Name                        Middle Name                Last Name

      Debtor 2
     (Spouse if, filing)       First Name                        Middle Name                Last Name


      United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)
                                                                                                                             O    Check if this is an
                                                                                                                                  amended filing



     Official Form 108
     Statement of Intention for Individuals Filing Under Chapter 7                                                                                 12115


     If you are an individual filing under chapter 7, you must fill out this form if:
     • creditors have claims secured by your property, or
     • you have leased personal property and the lease has not expired.
     You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
             whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
             ontheform ,

     If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
              sign and date the form.

     Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
             write your name and case number (if known).

                    List Your Creditors Who Have Secured Claims

     1. For any creditors that you listed in Part I of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 10613), fill in the
        information below.




         Creditor's                                                            0   Surrender the property.   '               0   No
         name:                                                                 0   Retain the property and redeem it.
                                                                               0   Retain the property and enter into a      0 Yes
         Description of                                                            Reaffirmation Agreement.
         property                                                              0   Retain the property and [explain]:
         securing debt:


         Creditor's                                                            0   Surrender the property.                   0   No
         name:                                                                 0   Retain the property and redeem it.
                                                                               0   Retain the property and enter into a      0 Yes
         Description of                                                            Reaffirmation Agreement.
         property                                                              0   Retain the property and [explain]:
         securing debt:


         Creditor's                                                            0   Surrender the property.                   0   No
         name:                                                                 0   Retain the property and redeem it.
                                                                               0   Retain the property and enter into a      0   Yes
         Description of                                                            Reaffirmation Agreement.
         property                                                              0   Retain the property and [explain]:
         securing debt:


         Creditor's                                                            0   Surrender the property.                   DNo



     Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                              page 1

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      Debtor 1     ELSA M COTA                                                                             Case number   (if known)



        name:                                                                 o Retain the property and redeem it.                         0 Yes
        Description of
                                                                              o Retain the property and enter into a
                                                                                Reaffirmation Agreement.
        property                                                              o Retain the property and [explain]:
        securing debt:



     ITI!        List Your Unexpired Personal Property Leases
     For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
     in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
     You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Ibcribe your       unex 1        persona pperj9iisU                                                                              Will th             ed?

     Lessors name:                                                       -                                                            0 No
     Description of leased
     Property:
                                                                                                                                      0 Yes

     Lessors name:
     Description of leased
                                                                                                                                      o   No

     Property:
                                                                                                                                      0 Yes

     Lessor's name:                                                                                                                   0 No
     Descnption of leased
     Property:
                                                                                                                                      0 Yes

     Lessor's name:                                                                                                                   0 No
     Description of leased
     Property:
                                                                                                                                      0 Yes

     Lessor's name:                                                                                                                   o   No
     Description of leased
     Property:
                                                                                                                                      0 Yes

     Lessor's name:                                                                                                                   o   No
     Description of leased
     Property:
                                                                                                                                      0 Yes

     Lessor's name:                                                                                                                   o   No
     Description of leased
     Property:
                                                                                                                                      0 Yes

    ITh           Sign Below

     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
     property that is subject to an unexpired lease.

     x ' I: 5                   z''.                                                     x
           ELA M COTA                                                                        Signature of Debtor 2
           Signature of Debtor 1

           Date         October 16, 2019                                                 Date




    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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      Debtor I                    ELSA M COTA

      Debtor 2                                                                                               U 1. There is no presumption of abuse
      (Spouse, if filing)

      United States Bankruptcy Court for the: Eastern District of California                                 02. The calculation to determine if a presumptionof abuse
                                                                                                                   applies will be made under Chapter 7 Means Test
      Case number                                                                                                  Calculation (Official Form I 22A-2).
      (if known)
                                                                                                             0 3. The Means Test does not apply now because of
                                                                                                                   qualified military service but it could apply later.

                                                                                                             0 Check if this is an amended filing
     Official Form 1 22A - I
     Chapter 7 Statement of Your Current Monthly Income                                                                                                                    10/19

     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space Is needed,
     attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and




     rE
     case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
     qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form I 22A-lSupp) with this form.

                        Calculate Your Current Monthly Income

                     t is your marital and filing status? Check one only.
                     ot married. Fill out Column A, lines 2-11.
             o Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             o Married and your spouse is NOT filing with you. You and your spouse are:
              o Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              o Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                       penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
      -                living apart for reasons that do not include evading the Means Test requirements. 11 U.S.0 § 707(b)(7)(B).
          Fill In the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
          101 (bA). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
          the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
          spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                              Column A                 Column B
                                                                                                              Debtor I                 Debtor 2 or
                                                                                                                                      [n on-fil ingspouse_j
             Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
             payroll deductions).                                                                             $         3,000.00       $
             Alimony and maintenance payments. Do not include payments from a spouse if
             Column B is filled in.                                                                           $              0.00      $
             All amounts from any source which are regularly paid for household expenses
             of you or your dependents, including child support. Include regular contributions
             from an unmarried partner, members of your household, your dependents, parents,
             and roommates. Include regular contributions from a spouse only if Column B is not
             filled in. Do not include payments you listed on line 3.                                         $              0.00      $
             Net income from operating a business, profession, or farm                          -
                                                                                           Debtor I
             Gross receipts (before all deductions)                                $     0.00
             Ordinary and necessary operating expenses                             $     0.00
             Net monthly income from a business, profession, or farm $                   0.00   Copy here -> $               0.00      $
             Net income from rental and other real property
                                                                                           Debtor I
             Gross receipts (before all deductions)                                $     0.00
             Ordinary and necessary operating expenses                            -$     0.00
             Net monthly income from rental or other real property                $      0.00   Copy here -> $               0.00      $
                                                                                                              $              0.00      $
             Interest, dividends, and royalties




     Official Form 122A-1                                            Chapter 7 Statement of Your Current Monthly Income                                                page 1
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Filed 10/21/19                                                                    Case 19-14428                                                                                  Doc 1
      Debtor 1      ELSA M COTA                                                                            Case number (if known)



                                                                                                                                        r            --
                                                                                                      [Debtor I                         Debtor 2 or
                                                                                                                                        non.filingspouse]
       8. Unemployment compensation                                                                                                     $
            Do not enter the amount if you contend that the amount received was a benefit under
            the Social Security Act. Instead, list it here:
               For you                                          $                    0.00
                  For your spouse                                         $
            Pension or retirement income. Do not include any amount received that was a
            benefit under the Social Security Act. Also, except as stated in the next sentence, do
            not include any compensation, pension, pay, annuity, or allowance paid by the
            United States Government in connection with a disability, combat-related injury or
            disability, or death of a member of the uniformed services. If you received any retired
            pay paid under chapter 61 of title 10, then include that pay only to the extent that it
            does not exceed the amount of retired pay to which you would otherwise be entitled
            if retired under any provision of title 10 other than chapter 61 of that title.            $                  0.00          $
            Income from all other sources not listed above. Specify the source and amount.
            Do not include any benefits received under the Social Security Act; payments
            received as a victim of a war crime, a crime against humanity, or international or
            domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
            United States Government in connection with a disability, combat-related injury or
            disability, or death of a member of the uniformed services. If necessary, list other
            sources on a separate page and put the total below.
                                                                                                       $                  0.00          $
                                                                                                       $                  0.00          $
                        Total amounts from separate pages, if any.                                  + $                   0.00          $

       11. Calculate your total current monthly income. Add lines 2 through 10 for
                                                                                                      3,000.00                                                  3,000.00
           each column. Then add the total for Column A to the total for Column B.              $
                                                                                                                         '1 $                        7$
                                                                                                                                                         Total current monthly
                                                                                                                                                         income
       FII'           Determine Whether the Means Test Applies to You

       12. Calculate your current monthly income for the year. Follow these steps:
                    Copy your total current monthly income from line 11                                          Copy line 11 here>                  $          3,000.00

                    Multiply by 12 (the number of months in a year)                                                                                       x 12
                    The result is your annual income for this part of the form                                                                12b.   $        36,000.00

       13. Calculate the median family income that applies to you. Follow these steps:

            Fill in the state in which you live.                              L      CA

            Fill in the number of people in your household.                          6
            Fill in the median family income for your state and size of household.                                                            13 .
            To find a list of applicable median income amounts, go online using the link specified in the separate instructions
            for this form. This list may also be available at the bankruptcy clerks office.
       14. How do the lines compare?
                      U     Line 1 2b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                            Go to Part 3.
                      0     Line 1 2b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                            Go to Part 3 and fill out Form 122A-2.

            In Sign  Below
               By signing here, I declare under penalty of perjury that the information on this statement and in any
                                                                                                                                 - --
                                                                                                                                              s true and correct.

                   X7 p                               (      4
                   E SA M COlA
                      Signature of Debtor 1
                 Date October 16, 2019
     Official Form 122A-1                                       Chapter 7 Statement of Your Current Monthly Income                                                      page 2
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      Debtor 1    ELSA M COTA                                                                           Case number (if known)

                      MM/DD /YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.




     Official Form 122A-1                                       Chapter 7 Statement of Your Current Monthly Income                       page 3
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     Notice Required by 11 U.S.C. § 342(b) for
     Individuals Filina for BankruDtcv (Form 2010


                                                                                               Chapter 7:        Liquidation
     This notice is for you if:
                                                                                                       $245 filing fee
             You are an individual filing for bankruptcy,
             and                                                                                        $75 administrative fee

             Your debts are primarily consumer debts.                                          +        $15 trustee surcharcie
             Consumer debts are defined in 11 U.S.C.
             § 101(8) as "incurred by an individual                                                    $335 total fee
             primarily for a personal, family, or
             household purpose."                                                               Chapter 7 is for individuals who have financial
                                                                                               difficulty preventing them from paying their debts
                                                                                               and who are willing to allow their nonexempt
      The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
      individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                               your debts discharged. The bankruptcy discharge
      Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
      one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                               for particular debts, and liens on property may still
             Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                               may have the right to foreclose a home mortgage or
             Chapter 11 - Reorganization                                                       repossess an automobile.

             Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                         for family farmers or                                                 certain kinds of improper conduct described in the
                         fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                               discharge.
             Chapter 13 - Voluntary repayment plan
                         for individuals with regular                                          You should know that even if you file chapter 7 and
                         income                                                                you receive a discharge, some debts are not
                                                                                               discharged under the law. Therefore, you may still
                                                                                               be responsible to pay:
     You should have an attorney review your
     decision to file for bankruptcy and the choice of                                             most taxes;
     chapter.
                                                                                                   most student loans;

                                                                                                   domestic support and property settlement
                                                                                                   obligations;




     Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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             most fines, penalties, forfeitures, and criminal                                 your income is more than the median income for your
             restitution obligations; and                                                     state of residence and family size, depending on the
                                                                                              results of the Means Test, the U.S. trustee, bankruptcy
             certain debts that are not listed in your bankruptcy                             administrator, or creditors can file a motion to dismiss
             papers.                                                                          your case under § 707(b) of the Bankruptcy Code. If a
                                                                                              motion is filed, the court will decide if your case should
     You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                              proceed under another chapter of the Bankruptcy
             fraud or theft;                                                                  Code.

             fraud or defalcation while acting in breach of                                   If you are an individual filing for chapter 7 bankruptcy,
             fiduciary capacity;                                                              the trustee may sell your property to pay your debts,
                                                                                              subject to your right to exempt the property or a portion
             intentional injuries that you inflicted; and                                     of the proceeds from the sale of the property. The
                                                                                              property, and the proceeds from property that your
             death or personal injury caused by operating a                                   bankruptcy trustee sells or liquidates that you are
             motor vehicle, vessel, or aircraft while intoxicated                             entitled to, is called exempt property. Exemptions may
             from alcohol or drugs.                                                           enable you to keep your home, a car, clothing, and
                                                                                              household items or to receive some of the proceeds if
     If your debts are primarily consumer debts, the court                                    the property is sold.
     can dismiss your chapter 7 case if it finds that you have
     enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
     You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
     Monthly Income (Official Form I 22A-1) if you are an                                     as Exempt (Official Form 1 06C). If you do not list the
     individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
     form will determine your current monthly income and                                      proceeds to your creditors.
     compare whether your income is more than the median
     income that applies in your state.

     If your income is not above the median for your state,
     you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
     the Chapter 7 Means Test Calculation (Official Form
     1 22A-2).
                                                                                                          $1,167 filingfee
     If your income is above the median for your state, yOu
     must file a second form —the Chapter 7 Means Test                                           +           $550 administrative fee
     Calculation (Official Form 122A-2). The calculations on
     the form— sometimes called the Means Test—deduct                                                     $1,717 totalfee
     from your income living expenses and payments on
                                                                                              Chapter 11 is often used for reorganizing a business,
     certain debts to determine any amount available to pay
     unsecured creditors. If                                                                  but is also available to individuals. The provisions of
                                                                                              chapter 11 are too complicated to summarize briefly.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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                 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                 your property, you should hire an attorney and carefully consider all of your options before you file.
                 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
                 properly and protect you, your family, your home, and your possessions.

                 Although the law allows you to represent yourself in bankruptcy court, you should understand that
                 many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
                 or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
                 following all of the legal requirements.

                 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                 necessary documents.

                 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
                 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                                                                                               Under chapter 13, you must file with the court a plan
      Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
                  farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                               the court approves your plan, the court will allow you
                                                                                               to repay your debts, as adjusted by the plan, within 3
                       $200 filing fee                                                         years or 5 years, depending on your income and other
     +                  $75 administrative fee                                                 factors.
                       $275 total fee
                                                                                               After you make all the payments under your plan,
     Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
     and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
     using future earnings and to discharge some debts that                                    pay include:
     are not paid.
                                                                                                      domestic support obligations,

                                                                                                      most student loans,
     Chapter 13: Repayment plan for
                 individuals with regular                                                             certain taxes,
                 income
                                                                                                      debts forfraud or theft,

                       $235 filing fee                                                                debts for fraud or defalcation while acting in a
      +                 $75 administrative fee                                                        fiduciary capacity,
                       $310 totalfee
                                                                                                      most criminal fines and restitution obligations,
     Chapter 13 is for individuals who have regular income
     and would like to pay all or part of their debts in                                              certain debts that are not listed in your
     installments over a period of time and to discharge                                              bankruptcy papers,
     some debts that are not paid. You are eligible for
     chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
     dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                      certain long-term secured debts.




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                                                                                               A married couple may file a bankruptcy case
                   Warning: File Your Forms on Time                                            together—called a joint case. If you file a joint case and
                                                                                               each spouse lists the same mailing address on the
     Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
     you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
     creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
     general financial condition. The court may, dismiss your                                  each spouse receive separate copies.
     bankruptcy case if you do not file this information within
     the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
     Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

      For more information about the documents and                                             The law generally requires that you receive a credit
      their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
      http:llwww.uscourts.gov/bkforms/bankruptcy form                                          agency. 11 U.S.C. § 109(h). If you are filing ajoint
      s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                               limited exceptions, you must receive it within the 180
                                                                                               days before you file your bankruptcy petition. This
      Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                               Internet.
             If you knowingly and fraudulently conceal assets
             or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
             of perjury—either orally or in writing—in                                         must complete a financial management instructional
             connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
             fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                               course.
             All information you supply in connection with a
             bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
             Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
             U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc --approved. html
             other offices and employees of the U.S.
             Department of Justice.
                                                                                               In Alabama and North Carolina, go to:
      Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                               Ban kruptcyResou rces/Approved Credit
      The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
      address you list on Voluntary Petition for Individuals
      Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
      that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
      Bankruptcy Rule 4002 requires that you notify the court                                  the list.
      of any changes in your address.




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     Debtor 1                    ELSA M COlA
                                                                 Middle Name                  Last Name

      Debtor 2
     (Spouse, if filing)         First Name                      Middle Name


     United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                          Chapter 7
          (if known)




     Official Form 119
     Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                                                                            12/15
     Bankruptcy petition preparers as defined in 11 U.S.C. § 110 must fill out this form every time they help prepare documents that are filed in the
     case. If more than one bankruptcy petition preparer helps with the documents, each must sign in Part 3. A bankruptcy petition preparer who
     does not comply with the provisions of title 11 of the United States Code and the Federal Rules of Bankruptcy Procedure may be fined,
     imprisoned, or both 11 U.S.C. § 110; 18 U.S.C. § 156.


                                 Notice to Debtor

     Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any documents for
     filing or accept any compensation. A signed copy of this form must be filed with any document prepared.

                   Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the following:


                           whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);
                   •       whether filing a case under chapter 7, 11 12, or 13 is appropriate;
                   •       whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;
                   •       whether you will be able to retain your home, car, or other property after commencing a case under the Bankruptcy Code;
                   •       what tax consequences may arise because a case is filed under the Bankruptcy Code;
                   •       whether any tax claims may be discharged;
                   •       whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement;
                   •       how to characterize the nature of your interests in property or your debts; or
                   •       what procedures and rights apply in a bankruptcy case.


     The bankruptcy petition preparer                           has notified me of any maximum allowable fee before preparing any document for filing or
     accepting any fee.

     7                                                                                                                           Date   "/O// 7 /2o/     q
                       of Debtor 1 acknowledging receipt of this notice                                                                 MM/DD /YYYY




     Official Form 119                                       Bankruptcy Petition Preparer's Notice. Declaration, and Signature                                    page   1

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Filed 10/21/19                                                                       Case 19-14428                                                                                           Doc 1
      Debtor 1          ELSA M COTA                                                                                  Case number (if known)



    ITlWi                      Declaration and Signature of the Bankruptcy Petition Preparer

     Under penalty of perjury, I declare that:

                    •    I am a bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer;
                    •    I or my firm prepared the documents listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition
                         Prepareras required by 11 U.S.C. §§ 110(b), 110(h), and 342(b); and
                    •    if rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy petition
                         preparers may charge, I or my firm notified the debtor of the maximum amount before preparing any document for filing or before
                         accepting any fee from the debtor:


      JESUS MURILLO                                                                                       PAS TYPING SERVICE
      Printed name                                                   Title, if any                      Firm name, if it applies


      2315 EDISON HWY BAKERSFIELD, CA 93307                                                             661-3250-0892
      Number, Street, City, State & ZIP Code                                                            Contact phone

     I or my firm prepared the documents checked below and the completed declaration is made a part of each document that I check:
     (Check al/that apply.)


            Voluntary Petition (Form 101)                                Schedule I (Form 1061)                                    Li    Chapter 11 Statement of Your Current Monthly
                                                                                                                                         Income (Form 1226)
            Statement About Your Social Security Numbers                 Schedule J (Form 106J)
            (Form 121)
                                                                         Declaration About an Individual Debtor's Schedules        Li    Chapter 13 Statement of Your Current Monthly
                                                                                                                                         Income and Calculation of Commitment Period
            Your Assets and Liabilities and Certain Statistical          (Form 106Dec)
                                                                                                                                         (Form 122C-1)
            Information (Form 106Sum)
                                                                    LI   Statement of Financial Affairs (Form 107)
                                                                                                                                   Lii   Chapter 13 Calculation of Your Disposable Income
     IJ     Schedule A/B (Form 106A/B)
                                                                    L    Statement of Intention for Individuals Filing Under             (Form 122C-2)
     !j Schedule C (Form 106C)                                           Chapter 7 (Form 108)
                                                                                                                                   Li    Application to Pay Filing Fee in Installments (Form
        J   Schedule D (Form 106D)                                  Fl   Chaoter 7 Statement of Your Current Monthly                     103A)
                                                                         Income (Form 122A-1)
            Schedule E/F (Form 106E/F)                                                                                             Li    Application to Have Chapter 7 Filing Fee Waived
                                                                         Statement of Exemption from Presumption of                      (Form 1036)
            Schedule G (Form 106G)
                                                                         Abuse under § 707(b)(2) (Form 1 22A-1 Supp)
            Schedule H (Form 106H)
                                                                                                                                   Li    A list of names and addresses of all creditors
                                                                    11   Chapter 7 Means Test Calculation (Form 1 22A-2)                 (creditor or mailing matrix)

                                                                                                                                   Li    Other




     Bankruptcy petftbn preparers must sign and give their Social Security numbers. If more than one bankruptcy petition preparer prepared the documents
     to which this d6laration appliJ th# signature and Social Security number of each preparer must be provided. 11 U.S.C. § 110.

                         _______________________________ 564750334                                                                               Date   10/09/2019
      Signature of                          pa                    aa1,                Social Security number of person who signed                       MM/DD/YYYY
      responsibIeØ'e/son, or partner

      JESUS MJRILLO
      Printed name



                                                                                                                                                 Date
      Signature of bankruptcy petition preparer or officer, principal,                Social Security number of person who signed                       MM/DD/YYYY
      responsible person, or partner



      Printed name




                N




     Official Form 119                                      Bankruptcy Petition Preparers Notice, Declaration, and Signature                                                              page 2
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     B2800 (Form 2800) (12/15)



                                                                    United States Bankruptcy Court
                                                                          Eastern District of California
       In re       ELSA M COTA                                                                                          Case No.
                                                                                          Debtor(s)                     Chapter       7

                        DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
                                 [Must be filed with the petition ?f a bankruptcy petition preparer prepares the petition. II U.S. C.,J1 O(h)(2).]

                  Under 11 U.S.C. § 110(h), I declare under penalty of perjury that I am not an attorney or employee of an attorney, that I
                  prepared or caused to be prepared one or more documents for filing by the above-named debtor(s) in connection with this
                  bankruptcy case, and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to
                  be paid to me, for services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
                  is as follows:

                 For document preparation services I have agreed to accept                                          $                     125.00

                 Prior to the filing of this statement I have received                                              $                     125.00

                 Balance Due                                                                                        $                       0.00

                  I have prepared or caused to be prepared the following documents (itemize):


                  and provided the following services (itemize):


                  The source of the compensation paid to me was:
                   [] Debtor             0     Other (specify):

                  The source of compensation to be paid to me is:
                         Debtor                Other (specify):

                  The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation of the petition
                  filed by the debtor(s) in this bankruptcy case.

                  To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy
                  qase except as listed below:

      NAME                                                            SOCIAL SECURITY NUMBER

                                                                                      564750334
                                                                      Social Security number of bankruptcy
                                                                                                                                                          .9
                                                                      petition p reparer*

              MURILLO                                                 2315 EDISON HWY BAKERSFIELD, CA 93307
      Printed name and title, if any, of                              Address
      Bankruptcy Petition Preparer


     *Jf the bankriptcy petition preparer is n'ot an individual, state the Social Security number of the officer, principal, responsible person
     or partner of the bankruptcy petition preparer. (Required by 11 U.S.C. § 110.)

    A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may
    result in fines or imprisonment or both. 11 USC. § 110; 18 US.C. § 156.




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